          CaseRI
 DURIE TANG      2:21-cr-00485-DSF
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:
 United States of America,
                                                 Plaintiff,                      2:2 l-cr-00485-DSF
                       v.

Mark Ridley-Thomas,                                                               ADVISEMENT OF
                                                                             DEFENDANT'S STATUTORY &
                                               Defendant.
                                                                              CONSTITUTIONAL RIGHTS


You are in the United States Dish·ict Court for the Central District of California because you have been charged
with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
Court informs you that you have the following constitutional and statutory rights in connection with these
proceedings:

       You have the right to remain silent. Anything you say, sign, or write can be used against you in this or in
any other case.
       If you have not already received a copy of the charges, you will receive a copy today.
        You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
these proceedings. If you cannot afford to hire a lawyer, you can apply to the Court to have a lawyer appointed
to represent you for free from the office of the Federal Public Defender or the Indig. ent Defense Panel. The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjury. If you
say something on the form that is not true or leave out material information, you could be charged with another
crime, such as perjury or making a false statement.
        If you are not a United States citizen, you may request that the prosecution notify your consular office
that you have been arrested. Even without such a request, the law may require the prosecution to do so.

               IF YOU ARE MAKING YOUR INITIAL APPEARANCE BEFORE THE COURT
        You have a right to a bail hearing in which the Magistrate Judge will determine whether you will be
released from custody before trial. If you disagree with the Magistrate Judge's decision, you can appeal that
decision to another Judge of this Court. You or the prosecutor can request that the bail hearing be continued to
another day.
        If you have been charged by complaint, you are entitled to a preliminary hearing within 14 days if the
Magistrate Judge orders that you be detained pending trial, or 21 days if the Magistrate Judge orders that you be
released pending trial. In a preliminary hearing, the prosecution will attempt to show that there is probable
cause to believe that you committed the crime charged in the complaint. You will not be entitled to a
preliminary hearing, however, if the prosecution obtains an indictment in your case before the time set for the
preliminary hearing. (Most often, the prosecutors in the Central District of California present their cases to the
grand jury before the time set for the preliminary hearing and, therefore, no preliminary hearing is held.)

                         IF YOU ARE CHARGED WITH A VIOLATION OF
                   YOUR CONDITIONS OF SUPERVISED RELEASE OR PROBATION
       If you are charged with a violation of the terms and conditions of your supervised release or probation
and the Magistrate Judge detains you, you have the right to a preliminary hearing before a Magistrate Judge.

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